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 6   L.P.

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 8                                 UNITED STATES DISTRICT COURT
 9                                NORTHERN DISTRICT OF CALIFORNIA
10
                                                 Case No. 4:19-cv-07123-PJH
11   WHATSAPP LLC, and META PLATFORMS
     INC.,                                       THIRD PARTY FRANCISCO PARTNERS’
12                                               LOCAL RULE 79-5(f)(3) STATEMENT
                     Plaintiff,                  RE: MAINTAINING SEAL OF
13                                               MATERIALS FILED BY PLAINTIFFS IN
                        v.                       SUPPORT OF MOTION FOR ISSUANCE
14                                               OF A LETTER ROGATORY PURSUANT
     NSO GROUP TECHNOLOGIES LIMITED              TO THE HAGUE CONVENTION [ECF No.
15   and Q CYBER TECHNOLOGIES LIMITED,           319]
16
                     Defendant.                  DISCOVERY MATTER
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     THIRD PARTY FRANCISCO PARTNERS’ LOCAL RULE 79-5(f)(3) STATEMENT RE: MAINTAINING
                         SEAL OF MATERIALS FILED BY PLAINTIFF
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 1          On June 26, 2024, Plaintiffs WhatsApp LLC and Meta Platforms Inc. filed its Administratvie

 2   Motion to Consider Whether Another Party’s Materials Should Be Sealed [Dkt. No. 319] in

 3   connection with Plaintiffs’ Motion for Issuance of a Letter Rogatory Pursuant to the Hague

 4   Convention. Specifically, Plaintiffs filed conditionally under seal an internal email, attached as

 5   Exhibit M to the Declaration of Craig Cagney, which contains “highly confidential” information.

 6   Pursuant to Civil Local Rule 79-5(f), Third Party Francisco Partners L.P. submits this statement and

 7   the supporting declaration from Steve Eisner to maintain the seal over Exhibit M to the Cagney

 8   Declaration.

 9   I.     GOOD CAUSE EXISTS TO SEAL CONFIDENTIAL BUSINESS STRATEGIES AND

10          ANALYSES.

11          Plaintiffs’ Motion is a nondispositive discovery motion, meaning that “good cause” is the

12   standard that is used. In re Midland Nat'l Life Ins. Co. Annuity Sales Practices Litig., 686 F.3d

13   1115, 1119 (9th Cir. 2012); Pintos v. Pac. Creditors Ass'n, 605 F.3d 665, 678 (9th Cir. 2010) (“In

14   light of the weaker public interest in nondispositive materials, we apply the ‘good cause’ standard

15   when parties wish to keep them under seal.”)

16          The email attached as Exhibit M to the Cagney Declaration comprises Francisco Partners’

17   highly confidential and sensitive commercial information that Francisco Partners protects from

18   disclosure to the public. Declaration of Steve Eisner ¶¶ 4-5. Disclosure of this information would

19   harm Francisco Partners’ competitive standing in the industry because it contains information

20   concerning assessments of its portfolio company, discusses factors Francisco Partners may use to

21   assess its portfolio companies, and discusses how Francisco Partners analyzes, assesses and

22   negotiates compensation packages for the management of its portfolio companies. Id. at ¶ 6.

23          The sealing request is narrowly tailored, in that Francisco Partners has redacted the sensitive

24   information from the email in question so that the balance can be filed in the public file. Id. at ¶ 8.

25          Courts generally allow such financial information to be filed under seal. See Prescott v.

26   Reckitt Benckiser LLC, 2022 WL 847309, at *4 (N.D. Cal. Mar. 22, 2022) (“internal business

27   strategies, competitive analyses, trade secrets, product development plans, and financial

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     THIRD PARTY FRANCISCO PARTNERS’ LOCAL RULE 79-5(f)(3) STATEMENT RE: MAINTAINING
                         SEAL OF MATERIALS FILED BY PLAINTIFF
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 1   information” are “an appropriate subject for sealing”); Bunsow De Mory LLP v. North Forty

 2   Consulting LLC, No. 20-cv-04997-JSC, 2020 WL 7872197, at *1 (N.D. Cal. Aug. 7, 2020)

 3   (“Confidential business information in the form of . . . ‘business strategies’” satisfies the

 4   “compelling reasons” standard, which is stricter than the good cause standard used in this instance);

 5   Rodman v. Safeway, Inc., 2014 WL 12787874, at *2 (N.D. Cal. Aug. 22, 2014) (sealing ‘internal,

 6   nonpublic information discussing [the defendant’s] pricing strategy, business decisionmaking [sic],

 7   and financial records, which would expose [the defendant] to competitive harm if disclosed”);

 8   DiscoverOrg Data LLC v. Bitnine Global, Inc., 2020 WL 8669859, at *3 (N.D. Cal. Nov. 6, 2020);

 9   Adtrader, Inc. v. Google LLC, 2020 WL 6395528, at *2 (N.D. Cal. .Feb. 11, 2020) (sealing

10   documents that “could cause competitive harm by providing insight into Google’s strategic and

11   financial decisions, and by revealing to competitors the capabilities of Google’s systems”).

12   II.    CONCLUSION

13          For the aforementioned reasons, Francisco Partners respectfully requests that the Court

14   maintain the seal over Exhibit M to the Cagney Declaration.

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     Dated: July 2, 2024                                     K&L GATES LLP
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17
                                                             By: /s/ Matthew G. Ball
18                                                               Matthew G. Ball
19                                                               Attorneys for Third Party
                                                                 FRANCISCO PARTNERS
20                                                               MANAGEMENT L.P.
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     THIRD PARTY FRANCISCO PARTNERS’ LOCAL RULE 79-5(f)(3) STATEMENT RE: MAINTAINING
                         SEAL OF MATERIALS FILED BY PLAINTIFF
